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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS

                                              §
JESSICA MARSHALL,                             §
                                              §   Civil Action No. 4:16-cv-01400
                    Plaintiff,                §
                                              §
                    v.                        §
                                              §
MEDICREDIT.         §
                                              §
                    Defendant.                §
                                              §


                                 NOTICE OF SETTLEMENT


TO THE CLERK:

              NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41(a) within sixty (60) days .




Dated: September 8, 2016                  BY: /s/ Amy L. Bennecoff
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     Case 4:16-cv-01400 Document 17 Filed on 09/08/16 in TXSD Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of September, 2016, a true and correct copy of the

foregoing pleading was served via ECF to the below:



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Dated: September 8, 2016                     BY: /s/ Amy L. Bennecoff
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